Case 2:19-cv-01717-RGK-AGR Document 315 Filed 05/20/22 Page 1 of 8 Page ID #:10926



      1 WINSTON & STRAWN LLP
        Jeffrey L. Kessler (pro hac vice)
      2 jkessler@winston.com
        David G. Feher (pro hac vice)
      3 dfeher@windston.com
        200 Park Avenue
      4 New York, NY 10166-4193
        Tel: (212) 294-6700
      5 Fax: (212) 294-4700
      6 Cardelle B. Spangler
        cspangler@winston.com
      7 35 West Wacker Drive
        Chicago, IL 60601
      8 Tel: (312) 558-5600
        Fax: (312) 558-5700
      9
        Attorneys for Plaintiffs
     10
        LATHAM & WATKINS LLP
     11 Jamie L. Wine (SBN: 181373)
        jamie.wine@lw.com
     12 885 Third Avenue
        New York, NY 10022-4834
     13 Tel: (212) 906-1200
        Fax: (212) 751-4864
     14
        Michele D. Johnson (SBN: 198298)
     15 michele.johnson@lw.com
        650 Town Center Drive, 20th Floor
     16 Costa Mesa, CA 92626-1925
        Tel: (714) 540-1235
     17 Fax: (714) 755-8290
     18 Attorneys for Defendant
     19                        UNITED STATES DISTRICT COURT
     20                      CENTRAL DISTRICT OF CALIFORNIA
     21   ALEX MORGAN, et al.,                   Case No. 2:19-cv-01717-RGK-AGR
     22                 Plaintiffs,              Assigned to: Judge R. Gary Klausner
     23   v.
                                                 JOINT NOTICE OF MOTION AND
     24   UNITED STATES SOCCER                   MOTION FOR INDICATIVE
          FEDERATION, INC.,                      RULING
     25
                        Defendant.               Date: June 21, 2022
     26                                          Time: 9:00 a.m.
                                                 Courtroom: 850
     27
     28


               JOINT MOTION FOR INDICATIVE RULING; CASE NO.: 2:19-CV-01717-RGK-AGR
Case 2:19-cv-01717-RGK-AGR Document 315 Filed 05/20/22 Page 2 of 8 Page ID #:10927



      1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
      2          PLEASE TAKE NOTICE that on June 21, 2022 at 9:00 a.m., or as soon
      3 thereafter as the matter may be heard, in Courtroom 850 of the above-entitled court,
      4 located at 255 East Temple Street, Los Angeles, CA 90012, Plaintiffs Alex Morgan,
      5 et al. (collectively, “Plaintiffs”) and Defendant United States Soccer Federation, Inc.
      6 will and hereby do jointly move the Court for an order for an indicative ruling
      7 pursuant to Federal Rule of Civil Procedure 62.1(a)(3) so the Court can consider the
      8 parties’ proposed settlement of this class action.
      9          This Motion is based upon this Notice of Motion and Motion, the
     10 accompanying Memorandum of Points and Authorities, the Proposed Order filed
     11 concurrently herewith, the records and files in this action, and any other written or
     12 oral submissions that may be presented at or before the hearing on this Motion.
     13          Pursuant to Local Rule 7-3, Plaintiffs and Defendant join in the relief sought
     14 in this Motion.
     15 Dated: May 20, 2022                        WINSTON & STRAWN LLP
     16                                            By:    /s/ Jeffrey L. Kessler1
                                                          Jeffrey L. Kessler
     17                                                   David G. Feher
                                                          Cardelle B. Spangler
     18                                                   Diana Hughes Leiden
                                                          Jeanifer E. Parsigian
     19
                                                          Attorneys for Plaintiffs
     20
     21                                            LATHAM & WATKINS LLP
     22                                            By:    /s/ Jamie L. Wine
                                                          Jamie L. Wine
     23                                                   Michele D. Johnson
                                                          Kuan Huang
     24                                                   Sarah M. Gragert
     25                                                   Attorneys for Defendant
     26
     27   1
          I, Jeffrey L. Kessler, attest that all other signatories listed, and on whose behalf this
     28 filing is submitted, concur in the filing’s content and have authorized the filing.

                                                     1
              JOINT MOTION FOR INDICATIVE RULING; CASE NO.: 2:19-CV-01717-RGK-AGR
Case 2:19-cv-01717-RGK-AGR Document 315 Filed 05/20/22 Page 3 of 8 Page ID #:10928



      1                MEMORANDUM OF POINTS AND AUTHORITIES
      2 I.      INTRODUCTION
      3         This case currently is on appeal to the Ninth Circuit. The parties recently
      4 reached a settlement that resolves all remaining claims in this case. See Ex. A.
      5 Because the Court certified this litigation as a class action, the Court must approve
      6 the settlement before the settlement can go into effect. See Fed. R. Civ. P. 23(e).
      7 The USWNT players have prepared a motion for preliminary approval of the
      8 proposed settlement. See Ex. B.
      9         In order for the Court to rule on the motion for preliminary approval of the
     10 settlement, it must have jurisdiction over the case. Because jurisdiction currently
     11 rests with the Ninth Circuit, the parties jointly request that the Court issue an
     12 indicative ruling under Federal Rule of Civil Procedure 62.1(a)(3) stating that the
     13 Court would grant the motion for preliminary approval or that the Court would
     14 consider the motion because it raises a “substantial issue.” That would allow the
     15 Ninth Circuit to issue a limited remand so that this Court may consider the proposed
     16 settlement. See Fed. R. App. P. 12.1(b).
     17 II.     RELEVANT PROCEDURAL AND FACTUAL BACKGROUND
     18         Plaintiffs assert a violation of the Fair Labor Standards Act of 1938, 29 U.S.C.
     19 §§ 201 et seq., as amended by the Equal Pay Act of 1963, and discrimination on the
     20 basis of sex regarding pay and working conditions in violation of Title VII of the
     21 Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq., as amended by the Civil Rights
     22 Act of 1991. Compl. ¶¶ 102-16, Dkt. 1. The Court certified three classes as to those
     23 claims: (1) an Equal Pay Act collective action; (2) a Title VII damages class action;
     24 and (3) a Title VII injunctive relief class action. Order on Class Certification 14-15,
     25 Dkt. No. 98.
     26         On May 1, 2020, the Court decided the parties’ cross-motions for summary
     27 judgment. The Court granted Defendant’s motion in part, dismissing Plaintiffs’
     28 Equal Pay Act claim, Title VII pay-discrimination claim, and Title VII working-

                                                    1
              JOINT MOTION FOR INDICATIVE RULING; CASE NO.: 2:19-CV-01717-RGK-AGR
Case 2:19-cv-01717-RGK-AGR Document 315 Filed 05/20/22 Page 4 of 8 Page ID #:10929



      1 conditions claim with respect to playing surfaces. See Order on Summ. J. 21, 28,
      2 Dkt. No. 250 (Summ. J. Order). The Court denied the parties’ motions on the Title
      3 VII working-conditions claims with respect to travel, personnel, and support
      4 services. Id. at 31. The parties then settled the working-conditions claims, see Order
      5 Approving of Class Settlement, Dkt. 305, and Plaintiffs appealed the Court’s
      6 summary-judgment order on the pay-discrimination claims to the Ninth Circuit, see
      7 Notice of Appeal, Dkt. 308.
      8          While the case was on appeal, the parties reached an agreement in principle
      9 to settle all remaining claims in the case. They advised the Ninth Circuit of that
     10 agreement in principle and asked that Court to hold the appeal in abeyance while the
     11 parties finalize the settlement and seek this Court’s approval of the settlement. Joint
     12 Mot. 1, No. 21-55356 (9th Cir. Feb. 22, 2022), Dkt. 82.               The Ninth Circuit
     13 accordingly agreed to hold the appeal in abeyance, with the parties providing regular
     14 status reports. See Ninth Circuit Order 1, Dkt. 314.
     15          The parties have now finalized their settlement agreement. See Ex. A. Under
     16 the proposed agreement, USSF will provide $22 million to the USWNT players,
     17 deposit $2 million in an interest-bearing fund account to benefit the players in their
     18 pursuit of post-playing career goals and charitable efforts, and provide for equal pay
     19 going forward in exchange for a release of liability on the players’ pay-
     20 discrimination claims. Id. ¶¶ 29-31. Because the Court certified this litigation as a
     21 class action, one of the conditions of the settlement agreement is that the Court
     22 approve the agreement under Federal Rule of Civil Procedure 23(e). See id. ¶ 35.
     23 III.     LEGAL STANDARD
     24          A notice of appeal is jurisdictional—it “divests the district court of its control
     25 over those aspects of the case involved in the appeal.”             Griggs v. Provident
     26 Consumer Discount Co., 459 U.S. 56, 58 (1982). Thus, absent a remand, the district
     27 court lacks jurisdiction to approve a class-action settlement that covers the claims at
     28

                                                     2
               JOINT MOTION FOR INDICATIVE RULING; CASE NO.: 2:19-CV-01717-RGK-AGR
Case 2:19-cv-01717-RGK-AGR Document 315 Filed 05/20/22 Page 5 of 8 Page ID #:10930



      1 issue on appeal. See, e.g., In re W. States Wholesale Nat’l Gas Antitrust Litig.,
      2 No. 03-cv-1431, 2019 WL 2098350, at *6 (D. Nev. Apr. 5, 2019).
      3         The Federal Rules of Civil and Appellate Procedure provide a process by
      4 which the court of appeals can issue the necessary remand. First, under Federal Rule
      5 of Civil Procedure 62.1, the parties ask the district court for an indicative ruling
      6 stating “what it would do with the [motion], or at least consider[ing] whether there
      7 is a serious issue raised.” Defenders of Wildlife v. Salazar, 776 F. Supp. 2d 1178,
      8 1182 (D. Mont. 2011). Rule 62.1 provides: “If a timely motion is made for relief
      9 that the court lacks authority to grant because of an appeal that has been docketed
     10 and is pending, the court may (1) defer considering the motion; (2) deny the motion;
     11 or (3) state that it would grant the motion if the court of appeals remands for that
     12 purpose or that the motion raises a substantial issue.” Fed. R. Civ. P. 62.1(a).
     13 Second, once the district court issues an indicative ruling, the court of appeals “may
     14 remand for further proceedings,” although the court of appeals “retains jurisdiction
     15 unless it expressly dismisses the appeal.” Fed. R. App. P. 12.1(b); see Mendia v.
     16 Garcia, 874 F.3d 1118, 1120-21 (9th Cir. 2017).
     17         The district court should issue an indicative ruling if it determines that it “is
     18 willing to entertain the motion because it raises a substantial issue or that [it] is
     19 willing to grant the motion.” Connors v. McDaniel, No. 07-cv-268, 2013 WL
     20 273292, at *2 (C.D. Cal. Jan. 23, 2013). The indicative-ruling process is appropriate
     21 when parties reach a settlement of a class-action dispute on appeal and require
     22 approval of that settlement from the district court. See Fed. Ct. App. Manual § 25:7
     23 (7th ed. Mar. 2021 update).
     24 IV.     ARGUMENT
     25         The parties have reached a settlement on the pay-discrimination claims in this
     26 case. Under the settlement, USSF will pay $22 million to the USWNT players, and
     27 provide an additional $2 million fund for the players’ post-playing career goals and
     28 charitable efforts. Ex. A ¶ 29. USSF also will guarantee equal pay between the

                                                    3
              JOINT MOTION FOR INDICATIVE RULING; CASE NO.: 2:19-CV-01717-RGK-AGR
Case 2:19-cv-01717-RGK-AGR Document 315 Filed 05/20/22 Page 6 of 8 Page ID #:10931



      1 women’s and men’s teams in the future, consistent with the examples set out in the
      2 agreement, for all games and tournaments including the World Cup. Id. ¶ 30. The
      3 details of future equal pay are formalized in the teams’ new collective bargaining
      4 agreements, and the settlement is contingent on the ratification of those agreements.
      5 Id. ¶ 30(b).     The parties are confident that the settlement agreement is fair,
      6 reasonable, and adequate, particularly since the Court granted summary judgment to
      7 USSF on the players’ pay-discrimination claims.          The USWNT players have
      8 prepared a motion for preliminary approval of the proposed settlement agreement
      9 for the Court to rule on once the Court has the authority to do so. See Ex. B.
     10         The Court accordingly should issue an indicative ruling stating that it would
     11 grant the motion for preliminary approval of the class settlement or that the motion
     12 raises a substantial issue.     The Ninth Circuit has repeatedly recognized the
     13 “overriding public interest in settling and quieting litigation.” Camacho v. City of
     14 San Luis, 359 F. App’x 794, 796 (9th Cir. 2009) (quoting Ahern v. Cent. Pac. Freight
     15 Lines, 846 F.2d 47, 48 (9th Cir. 1988)). The court has explained that settlements
     16 “are judicially favored as a matter of sound public policy,” because “they conserve
     17 judicial time and limit expensive litigation.” Id. (quoting Ahern, 846 F.2d at 48).
     18 The Ninth Circuit is thus “firmly committed to the rule that the law favors and
     19 encourages compromise settlements,” id. (quoting Ahern, 846 F.2d at 48),
     20 “particularly where complex class action litigation is concerned,” Class Plaintiffs v.
     21 Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992).
     22         Because this case is a class action, any settlement requires this Court’s
     23 approval. See Officer for Justice v. Civil Service Comm’n of S.F., 688 F.2d 615, 523
     24 (9th Cir. 1982) (citing Fed. R. Civ. P. 23(e)). Approval proceeds in two stages. First,
     25 the Court determines whether to grant preliminary approval to the settlement,
     26 because it appears to the Court that “the terms of the proposed settlement warrant
     27 consideration by members of the class and a full examination at a final approval
     28 hearing.” Contreras v. Worldwide Flight Servs., Inc., No 18-cv-6036, 2019 WL

                                                   4
             JOINT MOTION FOR INDICATIVE RULING; CASE NO.: 2:19-CV-01717-RGK-AGR
Case 2:19-cv-01717-RGK-AGR Document 315 Filed 05/20/22 Page 7 of 8 Page ID #:10932



      1 8633663, at *5 (C.D. Cal. Sept. 30, 2019). If the Court grants preliminary approval,
      2 the parties notify the class members of the proposed settlement and the class
      3 members are given the opportunity to opt out of the settlement or to object to the
      4 settlement. Second, the Court conducts a fairness hearing and considers whether to
      5 grant final approval to the settlement because the Court determines that the
      6 settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). This
      7 approval process cannot occur without a remand from the Ninth Circuit. See Maine
      8 v. Taylor, 477 U.S. 131, 144-45 (1986) (explaining that factfinding “is the basic
      9 responsibility of district courts, rather than appellate courts”); Class Plaintiffs, 955
     10 F.2d at 1276 (explaining the “limited” role of appellate courts in reviewing class
     11 settlements). That limited remand, in turn, requires an indicative ruling from this
     12 Court.
     13          To be clear, at this point the Court does not need to definitively determine
     14 whether it will grant approval of the proposed settlement. The Court need only state
     15 that the motion for preliminary approval of the settlement “raises a substantial
     16 issue.” Fed. R. Civ. P. 62.1(a)(3). That said, as the USWNT players explain in the
     17 motion, there is no reason to believe that the Court will not grant approval. Courts
     18 in this district consider four factors in deciding whether to grant preliminary
     19 approval to a settlement, namely, whether the settlement (1) is “the product of
     20 serious, informed, non-collusive negotiations”; (2) “has no obvious deficiencies”;
     21 (3) “does not improperly grant preferential treatment to class representatives or
     22 segments of the class”; and (4) “falls within the range of possible approval,”
     23 considering the value of the settlement, the risk of continued litigation, and the scope
     24 of the release. Smith v. Experian Info. Sols., Inc., No. 17-cv-629, 2020 WL 4592788,
     25 at *5 (C.D. Cal. Aug. 10, 2020).
     26          All four of those factors are met here: (1) the settlement was reached through
     27 arm’s-length negotiations by experienced counsel; (2) the settlement provides a
     28 substantial recovery for the USWNT players on their pay-discrimination claims,

                                                    5
             JOINT MOTION FOR INDICATIVE RULING; CASE NO.: 2:19-CV-01717-RGK-AGR
Case 2:19-cv-01717-RGK-AGR Document 315 Filed 05/20/22 Page 8 of 8 Page ID #:10933



      1 totaling $24 million dollars, as well as a guarantee of equal pay going forward, on
      2 terms that are acceptable to all parties; (3) the settlement does not grant preferential
      3 treatment to any USWNT player (indeed, it does not even provide an incentive award
      4 to the class representatives); and (4) the settlement fairly balances the players’
      5 expected recovery against the risk of future litigation, particularly in light of the
      6 uncertainty all parties faced with respect to the outcome of the appeal, and releases
      7 only claims related to those currently pending on appeal. See Ex. B at 12-16. If the
      8 Court issues an indicative ruling and the Ninth Circuit issues a limited remand, the
      9 USWNT players will then promptly file the motion for preliminary approval of the
     10 settlement for the Court’s consideration.
     11 V.       CONCLUSION
     12          The Court should issue an indicative ruling under Federal Rule of Civil
     13 Procedure 62.1 stating that the Court would grant the motion for preliminary
     14 approval of the class settlement or that the motion raises a substantial issue.
     15 Dated: May 20, 2022                        WINSTON & STRAWN LLP
     16                                            By:    /s/ Jeffrey L. Kessler2
                                                          Jeffrey L. Kessler
     17                                                   David G. Feher
                                                          Cardelle B. Spangler
     18                                                   Diana Hughes Leiden
                                                          Jeanifer E. Parsigian
     19
                                                          Attorneys for Plaintiffs
     20
     21                                            LATHAM & WATKINS LLP
     22                                            By:    /s/ Jamie L. Wine
                                                          Jamie L. Wine
     23                                                   Michele D. Johnson
                                                          Kuan Huang
     24                                                   Sarah M. Gragert
     25
                                                          Attorneys for Defendant
     26
     27   2
          I, Jeffrey L. Kessler, attest that all other signatories listed, and on whose behalf this
     28 filing is submitted, concur in the filing’s content and have authorized the filing.

                                                     6
              JOINT MOTION FOR INDICATIVE RULING; CASE NO.: 2:19-CV-01717-RGK-AGR
